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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

TIMOTHY KING, et al.,

               Plaintiffs,

v.

GRETCHEN WHITMER, et al.,                                   Civil Case No. 20-13134
                                                            Honorable Linda V. Parker
               Defendants,

and

CITY OF DETROIT, DEMOCRATIC
NATIONAL COMMITTEE,
MICHIGAN DEMOCRATIC PARTY, and
ROBERT DAVIS,

            Intervenor-Defendants.
___________________________________/

                                                ORDER

       The Court held a hearing today on pending motions for sanctions. As discussed at the

hearing, the Court will allow supplemental briefing by Mr. Campbell, Mr. Fink, Mr. Wood, and

Ms. Junttila. Supplemental briefs shall not exceed twenty (20) pages and shall be filed on or

before July 26, 2021. Response briefs to any supplemental brief shall be filed within seven (7)

days of the filing of any supplemental brief.

       SO ORDERED.

                                                        s/ Linda V. Parker
                                                        LINDA V. PARKER
                                                        U.S. DISTRICT JUDGE
 Dated: July 12, 2021
